              Case 5:22-cr-00311-FB
                         Case 1:22-mj-00824-DH
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                                                                                                      June 15, 2022

                                                                                                 CLERK, U.S. DISTRICT COURT
          FILED                                                                                  WESTERN DISTRICT OF TEXAS
                                                                                                    By:      SAJ
   September 28, 2022                         UNITED STATES DISTRICT COURT                                         Deputy Clerk
   CLERK, U.S. DISTRICT COURT                  WESTERN DISTRICT OF TEXAS
   WESTERN DISTRICT OF TEXAS                      SAN ANTONIO DIVISION
                 AD
BY: ________________________________                                              1:22-mj-824-DH
                        DEPUTY
                  UNITED STATES OF AMERICA                                      Case No: SA:22-CR-00311-FB(4)
                           Plaintiff

                                       v

                  (4) ISAAC ROYCE GONZALES

                           Defendant


                                   GOVERNMENT’S MOTION FOR DETENTION HEARING,
                                       FOR DETENTION, AND FOR CONTINUANCE

                 TO THE UNITED STATES MAGISTRATE JUDGE:

                          The Government, by and through the United States Attorney for the Western District of

                 Texas and the undersigned Assistant United States Attorney, and pursuant to 18 U.S.C. § 3141, et.

                 seq, moves for pretrial detention of Defendant; for a detention hearing regarding the above-named

                 Defendant; and for a continuance of said hearing. In support of these motions, the Government

                 shows as follows:

                 I.       MOTION FOR DETENTION HEARING

                          The Government requests that a hearing be set regarding detention pursuant to 18 U.S.C.

                 § 3142(f), as this matter involves one of more of the following:

                 ☐        an offense with a maximum sentence of life imprisonment or death

                 ☐        a qualifying controlled substance offense with a maximum sentence of 10 years or more

                 ☐        a felony offense that involves the possession or use of a firearm (including but not limited
                          to felon in possession of a firearm), destructive device, or any other dangerous weapon

                 ☐         a felony offense that is a crime of violence as defined under 18 U.S.C. § 3156(a)(4) to

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        include a felony offense under 18 U.S.C. chapter 77, 109a, 110 or 117

 ☐      a felony offense that involves a minor victim

 ☐      an offense that involves failure to register as a sex offender under 18 U.S.C. § 2250

 ☒      a serious risk that the Defendant will flee

 ☐      a serious risk that the Defendant will obstruct or attempt to obstruct justice

 II.    MOTION FOR DETENTION

        Grounds for detention. The Government further requests that Defendant be detained

 pending trial in this case pursuant to 18 U.S.C. §§ 3141(a) and 3142(e), because no condition or

 combination of conditions will reasonably assure:

 ☒      Defendant’s appearance as required

 ☐      the safety of any other person or the community

 III.   MOTION FOR CONTINUANCE

        Three-day continuance. Pursuant to 18 U.S.C. § 3142(f), the Government moves for a

 three-day continuance of the detention hearing in the matter.

 IV.    NOTICE OF REBUTTABLE PRESUMPTION IN FAVOR OF DETENTION

        Presumption of detention. In addition, the Government gives notice that 18 U.S.C. §

 3142(e)(3) establishes a rebuttable presumption that no condition or combination of conditions

 will reasonably assure the appearance of the person as required and the safety of the community,

 because there is probable cause to believe that Defendant committed:

 ☐      a qualifying controlled substance offense with a maximum sentence of 10 years or more

 ☐      an offense under 18 U.S.C. § 924(c)

 ☐      an offense under 18 U.S.C. chapter 77 for which a maximum term of imprisonment of 20
        years or more is prescribed


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 ☐      a qualifying offense involving a minor victim

 V.     NOTICE OF APPLICABILITY OF TEMPORARY DETENTION OF UP TO 10

 DAYS

        Temporary detention. The Government gives notice, pursuant to 18 U.S.C. § 3142(d), that

 Defendant is subject to temporary detention of up to ten days, as Defendant may flee or pose a

 danger to any other person or the community, and Defendant was:

 ☐      at the time the offense was committed, on release pending trial for a felony offense

 ☐      at the time the offense was committed, on release pending imposition or execution of
        sentence, appeal of sentence or conviction, or completion of sentence for an offense

 ☐      at the time the offense was committed, on probation or parole for an offense

 ☐      and is not, a United States citizen or not admitted lawfully for permanent residence

                                             Respectfully submitted,

                                             ASHLEY C. HOFF
                                             United States Attorney


                                      BY:    _____/s/______________________
                                             Amy M. Hail
                                             Assistant United States Attorney
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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


  UNITED STATES OF AMERICA

         Plaintiff

                v

  (4) ISAAC ROYCE GONZALES

         Defendant




                                           ORDER

        On this date the Court considered the Government’s Motion to Detain Defendant, and the

 Court having reviewed said motion finds that it should be GRANTED.

        IT IS HEREBY ORDERED that the Government’s Motion to Detain Defendant is

 GRANTED.

        IT IS FURTHER ORDERED that Defendant’s bond hearing is set for

 _________________________ at _______ a.m. / p.m.

        SIGNED AND ENTERED on: June 15, 2022.




                                           ___________________________________
                                           UNITED STATES MAGISTRATE JUDGE




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